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 7                         IN THE UNITED STATES BANKRUPTCY COURT
                   IN AND FOR WESTERN DISTRICT OF WASHINGTON AT TACOMA
 8
 9   In re:
                                                           Case No. 22-40818
10
     THOMAS J. WEEMS
11   BRITTANY N. WEEMS                                     Chapter: 7
12
                                     Debtors.
13
     MEAGAN DECK and JOHN DECK, a marital
14
     community                                             Adversary No.
15                        Plaintiffs,
                                                           COMPLAINT OBJECTING TO
16
              v.                                           DISCHARGE OF DEBT
17                                                         [11 U.S.C. §§ 523(a)(2), (4), (6)]
     ELITE CUSTOM HOMES and
18
     CONSTRUCTION, LLC, a limited liability
19   company; THOMAS J. WEEMS and
     BRITTANY N. WEEMS, a marital community,
20
21                                  Defendants.
22
                                            I. JURISDICTION
23            1.1.    This proceeding is brought pursuant to Bankruptcy Rule 7001(1), (2), and (6),
24     seeking recovery of money or property, to determine the validity, priority, or extent of a lien
25     or other interest in property, and determination of the dischargeability of a debt.
26            1.2.    Jurisdiction over this adversary proceeding is properly with the bankruptcy
27     court under 28 U.S.C. §§ 1334(b) and 157(a), 11 U.S.C. § 523, and Bankruptcy Rule 7001.
28




      COMPLAINT - 1                                                               MCFERRAN LAW, P.S.
                                                                                      3906 South 74th Street
                                                                                       Tacoma, WA 98409
                                                                           p 253-471-1200 * f 253-284-3855
 1        1.3.    This is a core proceeding under 28 U.S.C. § 157(b)(2)(A), (J) and (K). To the
 2   extent any matter is determined to be non-core, Plaintiffs consent to entry of final orders and
 3   judgments by the bankruptcy court.
 4        1.4.    Venue is proper under 28 U.S.C. § 1408(2).
 5
                                             II. PARTIES
 6
          2.1.    Plaintiffs Meagan Deck and John Deck (“Plaintiffs” or “Deck”) are wife and
 7
     husband residing in Pierce County, Washington. At all relevant times, Plaintiffs were the
 8
     owners of real property located at 1703 35th Street Place Southeast Puyallup, WA 98372
 9
     (“Subject Property”).
10
          2.2.    Defendant Elite Custom Homes and Construction, LLC (“Elite”), was, at all
11
     relevant times, a Washington general contractor, License No. ELITECH822OO, with its
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     principal place of business at 437 29th St. NE, Suite F, Puyallup, WA 98372-6784. On June
13
     30, 2022, Elite filed a petition for relief under chapter 7 of the United States Bankruptcy
14
     Code in the United States Bankruptcy Court for the Western District of Washington, case
15
     number 22-40818.
16
          2.3.    Defendants Thomas J. Weems and Brittany N. Weems (hereinafter “Weems”),
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     husband and wife, are residents of Puyallup, Pierce County, Washington and constitute a
18
     martial community. Upon information and belief, Thomas J. Weems is the sole governor and
19
     Owner/CEO of Elite. On June 30, 2022, Weems filed a petition for relief under chapter 7 of
20
     the United States Bankruptcy Code in the United States Bankruptcy Court for the Western
21
     District of Washington, case number 22-40819.
22
23
                                             III. FACTS
24
          3.1.    On or about August 12, 2021, Plaintiffs entered into a contract (the
25
     “Construction Contract”) with defendant Elite to do a full remodel of the Subject Property,
26
     adding on above the garage and pushing back the back of the house with a full kitchen and
27
     living room remodel and master bath.
28




     COMPLAINT - 2                                                             MCFERRAN LAW, P.S.
                                                                                   3906 South 74th Street
                                                                                    Tacoma, WA 98409
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 1        3.2.    Prior to entering into the Construction Contract with Elite, Plaintiffs met and
 2   discussed with defendant Thomas J. Weems the scope of the remodel project, terms of the
 3   contract, timeline, and cost.
 4        3.3.    An Estimate with the Scope of Work and the Construction Contract were
 5   drafted and provided to Plaintiffs by Weems and/or Elite. The initial estimated price of the
 6   Work stated in the Estimate was $278,327.50, including tax.
 7        3.4.    The Estimate provide to Plaintiffs by Weems and/or Elite included design
 8   drawing, engineering, and obtaining permit for $8106.
 9        3.5.    According to the terms of the Construction Contract and representations made
10   by Weems and/or Elite, a down payment of $111,331 (the “Initial Payment”) was required
11   prior to commencement of Work on the project.
12        3.6.    According to representations made by Weems and/or Elite, Work on the project
13   would commence upon payment of the Initial Payment of $111,331.
14        3.7.    On August 20, 2021, in reliance on the Construction Contract and
15   representations by Weems and/or Elite, plaintiffs paid Elite the Initial Payment via electronic
16   funds transfer.
17        3.8.    Based upon the representations made by Weems and/or Elite, Plaintiffs
18   believed and expected that Elite would commence work on the project according to the terms
19   of the Construction Contract and the timeline represented by Weems/Elite.
20        3.9.    According to the Construction Contract, a tentative construction start date for
21   the Work was set within 14 days of the receipt of a building permit by Elite, and Elite was to
22   substantially complete the Work within 84 days after the start date.
23        3.10. On or about August 4, 2021, Weems and/or Elite advised Plaintiffs the timeline
24   for completing both the design plans and the engineering portion of the Work was
25   approximately 8-12 weeks.
26        3.11.   Plaintiffs relied upon the representations made by Weems and/or Elite and
27   expected that Elite would complete the design plans and engineering portion of the Work
28




     COMPLAINT - 3                                                             MCFERRAN LAW, P.S.
                                                                                   3906 South 74th Street
                                                                                    Tacoma, WA 98409
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 1   within 8-12 weeks and that the project would proceed on schedule since they had paid the
 2   Initial Payment.
 3        3.12.   Even though Plaintiffs paid and Elite received the Initial Payment of $111,331
 4   from Plaintiffs on August 20, 2021 for the purpose of funding initial costs of Work including
 5   paying for design and engineering and permits, which Weems and/or Elite promised
 6   Plaintiffs they would do as soon as the Initial Payment was made, Elite and/or Weems did
 7   not provide the designer with the required 50% down payment until November 12, 2021.
 8   Further, although Elite had received $111,331 from Plaintiffs for purpose of funding the
 9   initial phase of the project and could have used those funds to pay the 50% down payment
10   in full without delay, Elite/Weems piecemealed the 50% down payment by paying a portion
11   on October 26, 2021 and completing the mere $3360 down payment on November 12, 2021.
12        3.13.   Nonetheless, Plaintiffs received preliminary plans from the designer on
13   November 5, 2021, two weeks after the timeline provided by Weems and/or Elite.
14        3.14.   Despite representations by Weems and/or Elite that design work would be
15   completed within 8-12 weeks, the Final plans for design were not presented to Plaintiffs until
16   March 21, 2022, more than four months after the timeline represented by Weems/Elite.
17        3.15.   Furthermore, structural engineering for the Work was not received until May
18   18, 2022, more than six months later than the timeline represented by Weems/Elite.
19        3.16.   In fact, Elite/Weems did not pay the Engineer the required 50% down payment
20   and did not pay for the engineering plans, even though Plaintiffs had paid and Defendants
21   had received the $111,333 Initial Payment that Elite/Weems had represented would be used
22   for that purpose and were contractually obligated to use for that purpose.
23        3.17.   According to the Construction Contract, Elite was required to provide Plaintiffs
24   with at least seven (7) days written notice of an alleged breach by Plaintiffs prior to
25   terminating the contract for cause.
26        3.18.   On June 14, 2022, Elite/Weems notified Plaintiffs that it was closing its doors
27   and would not be able to complete the Work as detailed in the Construction Contract.
28




     COMPLAINT - 4                                                             MCFERRAN LAW, P.S.
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 1        3.19.   With the exception of obtaining design and engineering plans, Elite did not
 2   perform any of the promised work on the Subject Property. Elite did not pay for the design
 3   and engineering plans other than the $3360 down payment for design work.
 4        3.20.   Elite’s failure to comply with the terms of the Construction Contract and
 5   termination of the contract without completing the work for which it was paid constitutes a
 6   material breach of contract.
 7        3.21.   On June 16, 2022, Plaintiffs, via their attorney, issued a letter to David Smith,
 8   attorney for Elite, demanding reimbursement of the Initial Payment, less amounts paid for
 9   design work; or, if no payment was to be forthcoming, then a full accounting of
10   Elite’s/Weems’s use of Plaintiff’s Initial Payment funds was demanded by June 20, 2022.
11        3.22.   Despite this demand, Elite/Weems failed and refused to reimburse to Plaintiffs
12   the unused portion of their Initial Payment and failed and refused to provide an accounting
13   of their use of the Plaintiffs’ $111,333 Initial Payment as demanded.
14        3.23.   Upon information and belief, including the filing of multiple complaints against
15   them in state court, Elite and Weems have engaged in a pattern and practice of taking large
16   deposits on construction projects from unsuspecting clients, doing little to no work and/or
17   doing work poorly, and then attempting to keep the majority, if not all, of their clients’ funds
18   without accounting to their clients.
19        3.24.   On May 8, 2020, the Pierce County Superior Court in case number 20-2-05487-
20   4, issued a pre-judgment Writ of Attachment to hold Weems’s real property assets to serve
21   as security for the payment of any judgement entered against Weems and/or Elite in a matter
22   where Weems and/or Elite received payment from a client but failed to perform any work
23   identified on the invoices. A true and correct copy of the Pre-Judgment Writ of Attachment
24   is attached as Exhibit A.
25        3.25.   In August 2021 and September 2021, two more lawsuits were filed against
26   Weems and Elite in Pierce County Superior Court that alleged that Weems and Elite had
27   taken large customer payments on construction contracts but performed little to no work or
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     COMPLAINT - 5                                                              MCFERRAN LAW, P.S.
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 1   performed unsatisfactory work on the project. True and correct copies of the complaints filed
 2   in those lawsuits (No. 21-2-07131-9 and No. 21-2-07588-8) are attached as Exhibit B.
 3        3.26.   Upon information and belief, Elite and Weems used the $111,333 Initial
 4   Payment from Plaintiffs for purposes other than Plaintiff’s remodel project, including but not
 5   limited to using those funds to pay personal expenses and debts of Weems entirely unrelated
 6   to Elite’s legitimate business operations.
 7        3.27.   Upon information and belief, at the time they entered into the Construction
 8   Contract with and made material representations to Plaintiffs concerning the use of the
 9   $111,331 Initial Payment, Elite and Weems knew that they would not use the Initial Payment
10   for the purposes specified in the contract or represented to Plaintiffs. Defendants failed to
11   disclose the material fact to Plaintiffs that Defendants were in a precarious financial
12   condition and intended to use the plaintiffs’ Initial Payment to resolve existing legal claims
13   and financial demands by other customers and former customers, among others.
14        3.28.   Upon information and belief, at the time Plaintiffs paid the $111,331 Initial
15   Payment to Elite on August 20, 2021, Elite and Weems knew or should reasonably have
16   known that Elite was experiencing severe financial and legal problems that would render it
17   unable to fulfill its promises and contractual obligations to Plaintiffs.
18        3.29.   At no time did Weems or Elite inform Plaintiffs of their ongoing legal problems
19   with customers, financial instability, or intended use of Plaintiff’s funds.
20        3.30.   At no time have Weems or Elite provided an accounting to Plaintiffs of the use
21   of their funds.
22
23                               IV.     CAUSES OF ACTION
24                                     FIRST CAUSE OF ACTION
                                           Breach of Contract
25
26        4.1.    Plaintiffs restate all previous allegations as if set forth fully herein.
27
28




     COMPLAINT - 6                                                                MCFERRAN LAW, P.S.
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 1        4.2.    Plaintiffs had a valid and enforceable contract with Elite under which it had a
 2   duty of good faith and fair dealing and an obligation to reasonably and timely perform and
 3   to refund the unused and unearned portion of the Initial Payment.
 4        4.3.    Elite’s termination of the Construction Contract without providing seven (7)
 5   days’ written notice and without performing its obligations constitutes a breach of contract.
 6        4.4.    Plaintiffs have been damaged as a result of Elite’s breach of contract in an
 7   amount to be proven at trial.
 8                                    SECOND CAUSE OF ACTION
                            Violation of the Consumer Protection Act, RCW 19.86
 9
10        4.5.    Plaintiffs restate all previous allegations as if set forth fully herein.
11        4.6.    Weems and Elite engaged in unfair and deceptive acts when they represented
12   to Plaintiffs that they would complete the contracted services in a timely fashion and for an
13   estimated amount, but instead failed to obtain design and engineering plans in a timely
14   fashion, failed to perform any actual work on the Subject Property, and failed to refund
15   plaintiffs’ their Initial Payment when Elite terminated the contract.
16        4.7.    Weems and Elite engaged in unfair and deceptive acts when they failed to
17   disclose the intended use and purpose of the Initial Payment made by plaintiffs.
18        4.8.    The act or practice occurred in the conduct of Defendants’ trade or practice.
19        4.9.    The act or practice affected, and continues to affect, the public interest.
20        4.10.   Plaintiffs’ were injured in their property interests.
21        4.11.   Defendants’ act or practice was the proximate cause of plaintiffs’ injuries.
22                                       THIRD CAUSE OF ACTION
                                     Piercing of the Corporate Veil/Alter Ego
23
24        4.12.   Plaintiffs restate all previous allegations as if set forth fully herein.
25        4.13.   Thomas J. Weems is the sole member and governing person of Elite and is the
26   sole owner/CEO of Elite. Weems used Elite, its bank accounts and its assets as his own. Elite
27   is the alter ego of Weems.
28




     COMPLAINT - 7                                                                MCFERRAN LAW, P.S.
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 1         4.14.   Based on information and belief, Weems comingled Plaintiff’s Initial Deposit
 2   of $111,331 with other client funds and used them for purposes not authorized under the
 3   Construction Contract or disclosed to Plaintiffs including but not limited to fraudulently
 4   transferring them to one or more third parties and spending them on personal expenses that
 5   were entirely unrelated to Elite’s business purposes.
 6         4.15    Upon information and belief, Weems has misused the corporate form in order
 7   to avoid one or more duties to Plaintiffs including the duty to reimburse and/or account to
 8   Plaintiffs for the unused portion of their funds.
 9         4.16.   Weems’ transfer, comingling, and personal use of funds from and with Elite
10   were intended to defraud, manipulate, and misrepresent the corporate status of Elite which
11   has and will result in a loss to plaintiffs.
12         4.17.   As a result of Weems’ actions to avoid liability to plaintiffs, Elite is believed to
13   be without funds or other assets and unable to refund the Initial Payment damaging plaintiffs.
14                                 FOURTH CAUSE OF ACTION
                            Nondischargeability of Debt; 11 U.S.C. § 523(a)(2)
15
16         4.18.   Plaintiffs restate all previous allegations as if set forth fully herein.
17         4.19.   The Bankruptcy Code specifically makes an exception to discharge under 11
18   U.S.C. § 523(a)(2) for debts incurred relating to money, property, services, or an extension,
19   renewal, or refinancing of credit, to the extent obtained by false pretenses, a false
20   representation, or actual fraud, other than a statement respecting the debtor’s or an insider’s
21   financial condition.
22         4.20.   Defendant Elite, through Weems, made representations regarding their ability
23   and intention to complete the Construction Contract according to their promised timeline and
24   that the $111,333 Initial Payment would be used to fund plaintiffs’ remodeling project,
25   knowing at the time they were false, with the intention and purpose of deceiving Plaintiff.
26         4.21    Weems and Elite induced plaintiffs to enter into the Construction Contract and
27   to advance the $111,333 Initial Payment by misrepresenting their ability and intent to
28   complete the Work and their intended use of Plaintiffs’ funds.




     COMPLAINT - 8                                                                 MCFERRAN LAW, P.S.
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 1         4.22.   Based on information and belief, Weems in fact used, and uses, customer funds
 2   including Plaintiff’s Initial Payment and assets of Elite for their own personal benefit and/or
 3   to fund other projects not related to the agreed-upon project, a practice that was ongoing at
 4   the time that Plaintiffs paid their $111,331 Initial Deposit to Elite and not disclosed to
 5   Plaintiffs.
 6         4.23.   Weems and Elite failed to disclose material information regarding their
 7   degrading and/or precarious financial condition and ongoing legal troubles when convincing
 8   plaintiffs to in enter into the Construction Contract and pay the $111,333 Initial Payment for
 9   use for their project at a time when they knew or reasonably should have known that they
10   would be unable to complete the project and intended to use those funds for personal
11   purposes and/or other projects.
12         4.24.   Upon information and belief, defendants intentionally withheld the material
13   information regarding their financial condition and intended use of the $111,333 for the
14   purpose of inducing Plaintiffs to pay the Initial Payment knowing that they would use
15   Plaintiffs’ funds for personal use and/or to fund other projects.
16         4.25.   Plaintiffs relied on Weems’ and Elite’s representations that they would
17   complete the Work detailed in the Construction Contract, having no knowledge of their
18   deceit until Elite closed its business.
19         4.26.   Had Plaintiffs known the truth regarding Elite’s precarious financial position,
20   legal troubles, and intended use of their funds, they would not have entered into the
21   Construction Contract or advanced $111,331 to Elite.
22         4.27.   Plaintiffs’ reliance on Debtors’ representations was reasonable.
23         4.28.   Plaintiffs’ sustained loss and damage as a proximate result of the
24   representations having been made by Debtors, including but not limited to the balance of the
25   $111,333 that was not refunded or accounted for by Weems or Elite.
26         4.29.   Weems’ and Elite’s fraudulent inducement proximately caused damage to
27   Plaintiffs damages in an amount to be proven at trial.
28




     COMPLAINT - 9                                                              MCFERRAN LAW, P.S.
                                                                                    3906 South 74th Street
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                                                                         p 253-471-1200 * f 253-284-3855
 1        4.30.   Weems and/or Elite’s misrepresentations permitted Defendants to receive
 2   money, property, or services by false pretenses, a false representation, or actual fraud within
 3   the meaning of 11 U.S.C. § 523(a)(2)(A).
 4        4.31.   Defendants’ debt to Plaintiff is nondischargeable pursuant to 11 U.S.C. §
 5   523(a)(6).
 6                               FIFTH CAUSE OF ACTION
                         Nondischargeability of Debt; 11 U.S.C. § 523(a)(4)
 7
 8        4.32.   Plaintiffs restate all previous allegations as if set forth fully herein.
 9        4.33.   The Bankruptcy Code specifically makes an exception to discharge under 11
10   U.S.C. § 523(a)(4) for debts incurred due to fraud or defalcation while acting in a fiduciary
11   capacity, embezzlement, or larceny.
12        4.34.   To the extent Elite and/or Weems represented to Plaintiffs that the $111,331
13   Initial Deposit paid by Plaintiffs was to be used towards Plaintiffs’ remodel project,
14   Elite/Weems were acting in a fiduciary capacity within the meaning of 11 U.S.C. § 523(a)(4)
15   with respect to those funds that required that they hold and use those funds for the purposes
16   for which they were intended, which they breached by using those funds for another
17   unauthorized purpose.
18        4.35.   In the alternative, to the extent the $111,331 Initial Deposit paid by Plaintiffs
19   represented a deposit toward work on Plaintiffs’ remodel project, the Initial Deposit
20   remained property of Plaintiffs, and Defendants’ use of those funds for another unauthorized
21   purpose constitutes theft and/or larceny within the meaning of 11 U.S.C. § 523(a)(4).
22        4.36.   Defendants’ debt to Plaintiffs is nondischargeable pursuant to 11 U.S.C. §
23   523(a)(4).
24                                 SIXTH CAUSE OF ACTION
                           Nondischargeability of Debt; 11 U.S.C. § 523(a)(6)
25
26        4.37.   Plaintiffs restate all previous allegations as if set forth fully herein.
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     COMPLAINT - 10                                                               MCFERRAN LAW, P.S.
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 1        4.38.   The Bankruptcy Code specifically makes an exception to discharge under 11
 2   U.S.C. § 523(a)(6) for debts incurred due to willful and malicious injury by the debtor to
 3   another entity or to the property of another entity.
 4        4.39.   Defendants willfully and maliciously injured Plaintiffs by knowingly and
 5   willfully misrepresenting or concealing facts in order to induce Plaintiffs to pay the $111,331
 6   Initial Deposit in the belief, based on Defendants’ representations, that the funds would be
 7   used for their remodel project, then transferring, spending, and otherwise misusing the funds
 8   for unauthorized and/or personal purposes.
 9        4.40.   Weems and/or Elite’s wrongful transfer and/or use of Plaintiffs’ funds for
10   undisclosed, unauthorized purposes constitutes a willful and malicious injury by Defendants
11   to another entity or property of another entity within the meaning of 11 U.S.C. § 523(a)(6).
12        4.41.   Defendants’ debt to Plaintiffs is nondischargeable pursuant to 11 U.S.C. §
13   523(a)(6).
14                              V.      RELIEF REQUESTED
15        WHEREFORE, plaintiffs request the following relief:
16        1. The court award monetary damages in an amount to be determined at trial, but at
17            least $104,609.80 of the unused Initial Payment funds, and for other damages
18            resulting from Elite’s breach of contract and Elite’s and Weems’s fraud and
19            violations of the Consumer Protection Act.
20        2. The court order that Weems and Elite are jointly and severally liable for any and all
21            damages awarded to Plaintiffs.
22        3. The court award pre-judgment interest on the liquidate sum due.
23        4. The court order reasonable attorneys’ fees and litigation costs, pursuant to RCW
24            4.84, et seq., RCW 18.27.040, RCW 19.86.090, and in accordance with any other
25            applicable statute and contractual provision entitling Plaintiffs’ to an award of fees.
26        5. The court award treble damages pursuant to RCW 19.86.040.
27        6. The court declare that Defendants’ debt to Plaintiffs is nondischargeable pursuant to
28            11 U.S.C. §§ 523(a)(2), (a)(4), and/or (a)(6).




     COMPLAINT - 11                                                            MCFERRAN LAW, P.S.
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 1        7. The court award such other and further relief as it deems just and equitable.
 2     DATED this 29th day of September 2022.
 3
                                                       McFERRAN LAW, P.S.
 4
 5
                                                       /s/Jean Bouffard
 6
                                                       Jean M. Bouffard WSBA #20457
 7                                                     Gurpreet S. Gill WSBA #55817
                                                       Attorneys for Plaintiffs
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     COMPLAINT - 12                                                          MCFERRAN LAW, P.S.
                                                                                 3906 South 74th Street
                                                                                  Tacoma, WA 98409
                                                                      p 253-471-1200 * f 253-284-3855
EXHIBIT A
A-1
A-2
A-3
EXHIBIT B
          E-FILED
  IN COUNTY CLERK'S OFFICE
PIERCE COUNTY, WASHINGTON

   August 18 2021 12:40 PM

       KEVIN STOCK
      COUNTY CLERK
    NO: 21-2-07131-9




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                                                                                       PIERCE COUNTY, WASHINGTON

                                                                                         September 24 2021 12:08 PM

 1                                                                                             KEVIN STOCK
                                                                                              COUNTY CLERK
                                                                                            NO: 21-2-07588-8
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 7                      IN THE SUPERIOR COURT OF WASHINGTON
                                  FOR PIERCE COUNTY
 8

 9   GERALD A. BASSEN and CARRIE E.                        NO. 21-2-_______________-___
     BASSEN, husband and wife,
10                                                         COMPLAINT
                        Plaintiffs,
11
     vs.
12
     ELITE CUSTOM HOMES &
13   CONSTRUCTION, LLC, a Washington
     general contractor, License
14   No. ELITECH822OO; WESTERN SURETY
     COMPANY, a Washington surety, Bond.
15
     No. 63808583, on file with the Washington
16   Department of Labor and Industries,

17                      Defendants.

18
           Plaintiffs Gerald and Carrie Bassen, for a Complaint, plead as follows:
19
                           I. PARTIES, JURISDICTION, AND VENUE
20
           1.1    Plaintiffs at all relevant times owned the real property and the home thereon
21

22   commonly known as 25202 - 150th Avenue East, Graham, Washington (“the Home”).

23         1.2    Elite Custom Homes & Construction, LLC (hereinafter “Elite”), was, at all

24   relevant times, a Washington general contractor, License No. ELITECH822OO, having its

25   COMPLAINT - 1                                     Law Office Charles R. Horner, PLLC
                                                       1911 Southwest Campus Drive, No. 727
                                                       Federal Way, Washington 98023
                                                       Tel.: 206-381-8454 Fax: 866-876-8280

                                                                                                  B-8
     domicile at 105B West Main Street, Suite 106, Puyallup, Washington, 98371. The
 1
     controlling person of Elite is Thomas James Weems.
 2

 3          1.3     Western Surety Company, a Washington surety, executed on Elite’s behalf

 4   Bond No. 63808583, effective dates September 19, 2018, to February 26, 2020 (“the Bond”),

 5   on file with the Washington Department of Labor and Industries.

 6          1.4     This Court has jurisdiction of the subject matter of this Complaint. Plaintiffs
 7   have satisfied all requirements of Chapter 64.50 RCW before commencing this action.
 8
            1.5     This Court has personal jurisdiction over defendants for the purposes of this
 9
     Complaint and the attachment of the Bond pursuant to RCW 18.27.040(3).
10
            1.6     Venue in this Court is proper because Elite’s domicile and official address on
11
     file with the Department of Labor and Industries and the Home are both located in Pierce
12
     County, Washington.
13
                                     II. STATEMENT OF FACTS
14

15          2.1     On or about September 22, 2019, plaintiffs entered into a contract (“the

16   Construction Contract”) with defendant Elite to install a roof on the Home. The foregoing

17   work is hereinafter referred to as “the Work.” The initial estimated price of the Work was

18   $19,562.27, including tax, but was ultimately $22,314.80. Elite gave plaintiffs a Five Year

19   Workmanship Warranty Agreement (“the Warranty”) with respect to the Work.
20          2.2     Elite failed to perform the Work, for which plaintiff paid it in full, in accordance
21
     with the Construction Contract and the plans and specifications for the Work, the standards of
22
     quality and workmanship specified in the Construction Contract and the Warranty, and the
23
     standards of the residential construction contracting industry in the state of Washington. Elite’s
24

25   COMPLAINT - 2                                        Law Office Charles R. Horner, PLLC
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                                                          Tel.: 206-381-8454 Fax: 866-876-8280

                                                                                                      B-9
     failure to so perform resulted in multiple construction defects in the Work that are or will be
 1
     described in a Construction Defect List to be filed in this action and that plaintiffs may amend
 2

 3   in the event they discover additional such defects.

 4          2.3     Because of the construction defects in the Work, plaintiffs received not the

 5   Work for which they contracted with Elite and that Elite warranted it would perform, but work

 6   that was valueless and had to be removed and replaced in order that the roof of the Home
 7   would conform to the plans and specifications for the Work, the standards of quality and
 8
     workmanship specified by the Construction Contract and the Warranty, and the standards of the
 9
     residential construction contracting industry in the state of Washington.
10
            2.4     Elite’s failure to use ordinary care in performing the Work caused or permitted
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     water to leak and to infiltrate through the roof and roofing components that it installed,
12
     resulting in damage to portions and components of the Home that were not part of the Work.
13
     Such damage included, without limitation, moisture stains and organic growth on several
14

15   rafters above the Home’s front porch, a portion of an exposed beam inside the Home, and many

16   areas of the roof sheathing, particularly over the garage and living room.

17          2.5     Plaintiffs’ damages will be proven at trial, but are alleged, for the purposes of

18   this Complaint, to be (a) the amount that plaintiffs had to pay another contractor to install a new

19   roof that conformed to the plans and specifications for the Work, the standards of quality and
20   workmanship specified by the Construction Contract and the Warranty, and the standards of the
21
     residential construction contracting industry in the state of Washington; and (b) the costs to
22
     repair the damage to the Home caused by the water leaks and infiltration through the roof that
23
     Elite installed and the diminution of the Home’s value because of such leaks and infiltration
24

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                                                                                                      B-10
                                       III. CLAIMS FOR RELIEF
 1
     A.     Breach of Contract and of Express Warranty.
 2

 3          3.1     Plaintiffs hereby incorporates the allegations in the foregoing paragraphs of this

 4   Complaint by reference in the following claim for relief.

 5          3.2     Defendant Elite breached the Construction Contract and the Warranty by failing

 6   perform the Work in conformance with the plans and specifications for the Work, the standards
 7   of quality and workmanship specified by the Construction Contract and the Warranty, and the
 8
     standards of the residential construction contracting industry in the state of Washington.
 9
            3.3     Defendant Elite damaged plaintiffs by depriving them of the benefit of the
10
     bargain under Construction Contract and the Warranty and causing them to incur consequential
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     damages that both naturally flowed from the breach and were in the parties’ contemplation at
12
     the time of contracting. Plaintiffs’ damages caused by Elite’s breach of the Construction
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     Contract and the Warranty include, without limitation, the cost of removing and replacing the
14

15   Work in order that the Home’s roof would conform to the plans and specifications for the

16   Work, the standards of quality and workmanship specified by the Construction Contract and the

17   Warranty, and the standards of the residential construction contracting industry in the state of

18   Washington, which were incorporated in the Construction Contract and the Warranty.

19          3.4     Defendant Elite is liable for plaintiffs’ damages caused by its breach of contract
20   in an amount that will be established at trial.
21
            3.5     Because it was a surety for Elite under the Bond, Western Surety Company is
22
     jointly and severally liable to plaintiffs along with Elite for plaintiffs’ damages caused by
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                                                                                                     B-11
     Elite’s breach of the Construction Contract in an amount that will be prove at trial, but not
 1
     exceeding the face amount of the Bond.
 2

 3   B.     Negligence.

 4          3.6     Plaintiffs hereby incorporates the allegations in the foregoing paragraphs of this

 5   Complaint by reference in the following claim for relief.

 6          3.7     Defendant Elite had a duty to plaintiffs to use ordinary care consistent with the
 7   standards of the residential construction contracting industry in the state of Washington in
 8
     performing the Work in order to avoid the risk of foreseeable damage to the Home to the
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     maximum practicable extent, including the risk of roof leaks and water infiltration into portions
10
     and components of the Home that were not part of the Work.
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            3.8     Defendant Elite breached its duty of ordinary care to plaintiffs in the manner and
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     in the respects alleged in this Complaint, rendering it liable to plaintiffs for their damages in an
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     amount that will be proven trial, including the costs of repairs to the Home and the diminution
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15   in the Home’s value proximately caused by its breach of ordinary care.

16                                   IV. REQUESTS FOR RELIEF

17          Plaintiffs, having pleaded a Complaint, request entry of judgment in their favor and the

18   following relief:

19          1.      An award of their damages in an amount that will be proven at trial together
20   with prejudgment interest on the liquidated portion thereof at the maximum rate permitted by
21
     law;
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            2.      An award of their reasonable attorneys’ fees and costs and litigation expenses,
 1
     including, without limitation, pursuant to the Construction Contract and RCW 18.27.040(6);
 2

 3          3.      An order holding the Bond liable for that portion of their damages, prejudgment

 4   interest thereon, attorneys’ fees, and statutory costs that may be collected from it and disbursing

 5   the proceeds of the Bond to them to the extent of those items up to the Bonds maximum value;

 6   and
 7          4.      Such other and further relief that the Court deems just and equitable.
 8
            DATED this 22nd day of September 2021.
 9
                                           LAW OFFICE OF CHARLES R. HORNER,
10                                         PLLC

11                                         By:             s/ Charles R. Horner
                                                 Charles R. Horner, WSBA No. 27504
12                                               Attorney for Plaintiffs

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